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:N THE UNITED sTATEs DISTRICT COURT am 'Y'“"(#'
FOR THE WESTERN DISTRICT oF TENNESSEE '1

WESTERN DIVISION

 

  

UNITED STATES OF AMERICA,

Plaintiff,
vs. Cr. No. 04-20439-Ma
LONNIE DAVIS,

Defendant.

 

ORDER DIRECTING THE UNITED STATES PROBATION OFFICE
TO PROVIDE DEFENDANT'S 1993 PRESENTENCE REPORT
TO DEFENSE COUNSEL

 

THIS CAUSE came before this Court upon the petition of defense
counsel to be provided with a copy of the presentence report which
was prepared to assist the Court in defendant’s sentencing in cause
number 92-195-01, in the Middle District of North Carolina.

The Court having found. good cause therefore, GRANTS the
motion, and orders the United States Probation Office to furnish to

defense counsel a copy of the report.

K._.q .1 ,..,..r <MJ ----
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UNITED STATES DISTRICT COURT JUDGE

DATE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20439 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

